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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

 

SIEMENS FINANCIAL SERVICES, INC.,

Plaintiff,

CIVIL ACTION
NO. 3117-01587-WGY

V.
HOSPITAL HERMANOS MELENDEZ, INC.,

Defendant.

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YOUNG,_D.J.1 OCtOber lO, 2018

ORDER

 

On September 25, 2018, Siemens Financial Services, Inc.
(“Siemens”) and Hospital Hermanos Meléndez, Inc. (“Hospital”)
(collectively, “the Parties”) filed a Joint Statement, ECF No.
50, informing this Court that the Parties had entered into a
Forbearance Agreement and requesting that this Court grant
Siemens’ motion for attorney's fees, ECF No. 41. Joint
Statement TL l, 3-5, ECF No. 50.

Siemens requested that this Court grant a total of
$25,537.44 in pre-judgment attorney’s fees and expenses:

[(l)] Attorneys’ fees charged by Vedder Price P.C.:

$18,394.68.

[(2)] Expenses incurred by Vedder Price P.C. (delivery

fees): $55.26.

[(3)] Attorneys’ fees charged by AMRC, LLC d/b/a
Antonetti Montalvo & Ramirez-Coll: $7,087.50.

 

1 Of the District of Massachusetts, sitting by designation.

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Mot. & Mem. Law Req. Att'y's Fees II 7-9, ECF No. 41.

In light of the Joint Statement, ECF No. 50, this Court
GRANTS Siemens’ motion for attorney’s fees, ECF No. 41, totaling
$25,537.44.

SO ORDERED.

      

WILLIAM G. Y U
DISTRICT JU GE

